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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  Jennifer Hough,
                                 Plaintiff,

                                                        Notice of Motion
         -against
                                                        Civil Action No. 21-cv-4568


  Kenneth Petty, AKA (“Zoo”),
  an individual
                             Defendant.


  PLEASE TAKE NOTICE, that upon this motion dated February 14, 2022, the Declarations of

  Tyrone Blackburn, Robert Diaz, Jennifer Hough, and supporting exhibits, and Memorandum of

  Law in Support of this Motion, Plaintiff respectfully moves the Court pursuant to Federal Rules

  of Civil Procedure 55(b) and Local Civil Rule 55.2(b) to enter default judgment in favor of Plaintiff

  and against Defendant KENNETH PETTY on the grounds that said Defendant failed to answer or

  otherwise defend against the complaint; to set a date for an inquest so that Plaintiff may prove

  damages; and for such further relief as this Court may deem just and proper.



  Date: February 14, 2022,

                                                                Respectfully Submitted,



                                                                Tyrone A. Blackburn, Esq.
